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                   EXHIBIT A




                                                                              10
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   9
  10                          SUPFItlEOR COUIIT OF'1CI1[E STATF OF CALIFOI.2NIA
  11                                     COUNTY OF SAN 18ERNARDINO
  12 NICOLE TORRES, TANYA COLLINS,                                        er;..
     ANDREW HOEFLIN, individually, and on
  13
     behalf.of other members of the general public          CLASS AC'I'ION COMPLAINT
  14 similarly sxtuated,
                                                            (1) Violation of California Labor Code §§ 221,
  15,                      Plaintiffs,                      400-410 (Unlawful Deductions froni Wages);
   16              vs.                                      (2) Violation of California Labor Code §§ 510
                                                            and 1198 (Unlawfut Failurc to Pay Overtime);
  17
     WELLS FARGO BANK, N.A., a national
  18 association; and DOES 1 through 10,-                   (3) Violation of California Labor Code §§
            inclusive, .                                    226.7(a) and 512(a) (Unpaid Missed Meal
   19                                                       Breaks);
                           Ddfendants.
  20                                                        (4) Violation of California Labor Code §
  21,                                                       226.7(a) (Unpaid Missed Rest Breaks);

  221                                                        (5) Violation of California Labor Code §§ 201
                                                             and 202 (Faiiure to Pay Wages at Ternnination
  23                                                         or Discharge); and
  24                                                         (6) Violation of California Business &
  25                                                         Professions Code § 17200, et seq. (Unfair
                                                             Conr►petition)
  26
                                                             Jury Trial Demanded
  27
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        I             -~T                        CLASs ACTION COMPLAINT                                      11
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    1            Plaintiffs Nicole Torres, Tanya Collins and Andrew Idoeflin (hereinafter "Plaintiffs"),
    2 individually and on behalf of all other similarly situated putative class mernbers, alleges as
    3 follows:
    4                                     JURISDICTION AND VENUE
    5       1)      This action is brought as a class action pursuant to California Code of Civil Procedure
    6 § 382. The monetaxy damages and restitution sought by Plaintiffs exceed the minimal
    7 jurisdictional limits of the Superior Court and will be established according to proof at trial. '1'he
    8 amaunt in controversy for the class representatives, including.their claims for compensatory
    9 damagcs and pro rata sharE of attorney fces, is less than $75,000 per person.
   10       2)       This Court has jurisdiction over this action pursuant to California Constitution Article
   11 VI, § 10, which grants the Superior Court "original jurisdiction in all causes except those given by
   12 statute to other courts." The statutes under which this action is brought do not specify any other
   13 ! basis for jurisdiction.
   14       3)       This Court has jurisdiction over all Defendants due to their sufficient minimurn
   15 contacts in California as well as the fact that they have intentionally availed themselves of the
   16 California inarket to render the exorcise of jurisdiction over them by the Caiifornia courts
   17 consistent with traditional notions of fair play and substantial justice.
   18       4)       Venue is proper in this Court because, upon information and belief, llefendant is an

   19 out-of- state corporation and transacts business in San Bernardino County.
   20                                              THfE PARTIES
   21       5)       Plaintiffs Nicole Torres is a resident of Riverside County in the State of California.
   22       6)       Plaintiffs Tanya Collins is a resident of Riverside County in the State of Catifornia.
   23       7)       Piaintiffs Andrew Hoeflin is a resident of Riverside County in the State of California.

   24       S)       Defendant Walls Pargo Bank, N.A. ("Defendant") was and is, upon information and

   25 belief, a South Dakota corporation with its principal place of business in California, and at all
   26 times hereinafter rnentioned, is an employer whose employees are cngaged throughout this county,
   27 the State of California, and/or the various states of the United States of America.
   28

        I                                          CLASS ACYION COMPLAINT                   ~                 `   12
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        1      9)      Plaintiffs is unaware of the true names or capacities of the Defendants sued herein

        2 under the fictitiotis names DOES 1- 10, but pxays for leave to amend and serve such fictitiously
        3 named Defendants pursuant to CaliforJiia Code of Civil Procedure § 474, once their names and
        4 capacities becorne known.
        5      10)     Plaintiffs is informed and believes, and thereon alleges, that each and all of the acts and
        6.omissions alleged herein were performed by, or azv attributable to, Defendant Walls Fargo Bank,-
        7 N.A. and DOES 1-10 (collectively "Defendants"), each acting as the agent for the other, with legal
        8 authority to act on the other's behalf. The acts of any and all Defendants were in accordance with,
        9 and represent the official policies of Defendant 'VJalls Fargo 13ank, N.A.
       10      11)     At all times, herein mentioned, Defendants, and each of thena, ratifxed each and every
       11 act or omission cornplained of herein. At all times herein mentioned, Defendant, and each of
       12 them, aided and abetted the acts and omissions of each and all the other Defendant in proximately
       13. causing the damages herein alleged.
       14      12)     Flaintiffs is informed and believes, and thereon alleges, that each of said Defendants is
       15 in some manner intentionally, negligently, or otherwise responsible for the aets, omissiozis,
       16 occurrences, and transactions alleged herein.
       17                                  CLASS ACTAON ALLEGATIONS
       18      13)      Plaintiffs brings this action on their own behalf, as well as on behalf of each and all

       19 other persons similarly situated, and t.hus, seeks class certification under California Code of Givil
       20 Procedure § 382.
       21      14)     All claims alleged herein arise under California law for which 1'laintiffs seek relief

       22 authorized by California law.
       23      15)     The proposed class consists of and is defined as:
       24                  All persons who have been eniployed by Defendant in the State of

       25                  California within the relevant time periods prior to the filing of this

       26                  complaint until resolution of this lawsuit and who held or hold the

       27                  positions of Home Mortgage Consultants or other titles with sirnilar

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                                                               _2-
                                                      CLAss ACTIOTJ COMPLAINT                                     13
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    1                      job duties.
    2       16)        There is a well defined cozntnunity of interest in the litigation and the class is easily
    3. !ascertainable:
    4             a:      Numerositv: The members ofthe class (and each subclass, if any) are so numerous
    5 ~.that joinder of all members would be unfeasible and.impractical. The membership ofthe entire
    6 class is unknown to Plaintiffs at this time, however, the class is estimated to be greater than one
    7 hundred (144) individuals aiid the identity o.f such membership is readily ascertainable by
    8 inspection of Defendant's employment records.
    9             b.       Typivalitv: Plaintiffs are qualitied to, and will, fairly and adequately proteet the
   10 interests of each class niember with whom they have a well-defizted community of interest, and
   11 Plaintiffs' claims (or defenses, if any) are typical of all Class Members' as demonstrated herein.
   12             C.       Adequacy: Plaintiffs are qualified to, and will, fairly and adequately, pfotcct the
   13 ititerests of each class member with whom they have a well-dehned community of interest and
   14 typicality of claims, as alleged herein. Plaintiffs acknowledge that they have an obligation to
   151 make lcnown to the Court any relationship, confticts or differences with any Class Member.
   16 Plaintiffs' attorneys and the proposed olass counsel are versed in the rules governing class action
   17 discovery, certifieation, and settlement. Plaintiffs have incurred, and throughout the duration of
   18 this action will continue to incur costs and attorney's fees that have been, are, and wi11 be
   19 necessarily expended for the prosecution of this aetion for tlie substantial benefit of each class
   20 I member.
   21             d.       SuperioritX: The nature of this action makes the use of class action adjudication
   22 I superior to other methods. A class action will achieve economies of time, effort and expense as
   23 compared with separate lawsuifis, and will avoid inconsistent outcomes because the saine issues
   24 can be adjudicated in the same manner and at the same time for the entire class.
   25             e.       1'ublic Policy Considerations: Employers of the State violate employment and
   26 labor laws frequently. Current employees are often afraid to assert their rights out of fear of direct
   27 or indirect retaliation. Forxner employees are fearfiil of bringing actions because they believe their
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        I                                             CLASs ACT10N COMPI.AItJT                   w~                14
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    1 forrner employers may damage their future endeavors through negative references andJor other

    2 means. Ciass actions provide the Class Members who are not named in the complaint with a type.
    3 of anonyrnity that allows for the vindication of their rights at the same time as their privacy is

    4   protected.

    5        17)        There are common questions of law and fact as to the class (and each subelass, if any)
    6 that predominate over questions affecting only sndividual
                                                     '          members, including but not limited to:
    7              a.      Whether Defendant made unlawfiil deductions firom the wages of Plaintifl's and
    8 other Class Members;

    9              b.      Whether Defendant required Plalntiffs and the other Class Members-to work over
   10 eight (8) hours per day or over forty (40) hours per week and failed to pay legally required
   11 premium overtime compensation to Plaintiffs and the other Class lvlembers based on the improper
   12 deductions from the wages made by Defendant;
   13              C.      Whether Defendant's failury to pay wages, without abatement or reduction, in
   14 accordance with the California Labor Code, was willful;
  15               d.      Whether Defendant had a policy of paying one hour of pay for each meal brealc
   16 missed by an employee;
   17              e.      Whether Defendant had a policy of paying one hour of pay for each rest break
   18 missed by an employce;
   19              f       Whether Defendant's conduct was willful or reckless;
   20              g.      Whether Defendant engaged in unfair business practices in violation of Califoxnia

   21 Business & Professions Code § 17200, et seq.; and
   22              h.      The appropriate amount of damages, restitution or monetary penalties resulting
   23 from Defendant's violations of California law.
   24                                          FACTUAL ALL1uGATIGNS
   25        18)        At all times set forth, Defendant employed Plaintiffs and other similarly situated

   26 persons in the capacity of Home Moilgage Consultants or related positions.
   27        19)        Plaintiffs are, and have been employed by Defendant as Home Mortgage Consultants. .
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        E~                                           CLAss ACTION COMPLAINT                                      15
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    1 Plaintiff Torres worked at the Chino Hills branch. She was employed from July 2013 through

   2 September 20.15. Plaintiff Collins worked at the Moreno Valley branch and transferred to the

    3 China Hills branch. She has been employed by Defendant since Deeember 2009. Plaintiff

    4 Hoeflin worked at the Moreno Valley branch. He was employed from July 1995 through March

    5 2004 and ficom January 2005 through March 2014.

    6           20)      Defendant continues to employ 1-lome Mortgage Consultants and other employees with

    7                 job duties within Cali£ornia,
    8           21)      Plaintiff's is informed and believes, and thereon alleges, that at all times herein

    9 mentioned, Defendant was advised by skilled lowyers and other professionals, employees and

   10 advisors knowledgeable about California and federallabor and wage law and employment and
   11 personnel practices, and about the reyuirements of California and federal law.
   12           22)       Plaintiffs are inforrned and believe, and thereon allege, that Defendant knew or should

   13'. have known that Defcndant was prohibited from improperly deducting wages from the Plaintiffs
   14 I and the other Class 1vlembers.
   15;          23)       Plaintiffs are informed and believe, and thereon allege, that Defendant knew or should
        I
   16 have known that k'laintiffs and the other Class Members were entitled to receive premium wages
   17 for overtirne coznpensation and that they were not receiving premium wages for overtime
   18 compensation due to improper deductions made to Plaintiffa' wages.
   19           24)       Plaintiffs are informed and believe, and thereon allege, that Defendant knew or should

   20 have known that Plaintiffs and the other Class inembers were etititled to receive all required meal
   21 breaks or payment of one hour of pay when a ineal break was missed.
   22           25)       Plaintiffs are informed and believe, and thereon allege, that Defendant knew, or should

   23 ( have known that Plaintiffs and the other Class members were entitled to receive all required rest
   24 breaks or payment of one hour of pay when a rest break was missed.
   25           26)       Plaintiffs are inforaned and believe, and thereon allege, that at all times herein

   26 mentioned, llefendant knew or should have known they had a duty to properly cornpensate
   27 Plaintiffs and the other Class Members, and that Defendant had the fnanciai abiiity to pay such
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            ~                                           CLASs ACTIoM COMPLAINT                                      16
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    1 compensation, but willfully, knowingiy, and intentionally failed to do so in order to increase

    2 Defendant's profits.

    3                                         FIRST CAUSE OF ACTION
    4                             Violation of California Labor Code §§ 221, 400-410
    5           27)    Plaintiffs incorporate by reference and re-alleges as if fully stated herein the material
    6. allegations set out in paragraphs 1 through 26.

    7           28)    CaliforWa Labor Code § 218 authorizes employees to sue directly for any wages or
    8 penalty due to them under the California l,abor Code.

    9           29)    California Labor Code § 221 provides that it shall be unlawful for uny employer to
   10 collect or receive from an einployee any part of wages.
   11           30)    California Labor Code §§ 400-410.provide that an ernployer may not deduct frorn or
   12 reduce an ernployee's wages for the purpose of shifting the employer's ordinary costs of doing
   13 business to the einployee.
   14           3 X)   8 Cal. Code Regs, § 11040(8) provides,
        ~
   15                     No ernployer shall rnake any deduction from the wage or require any
   16                      reimbursement from an employee for any cash shortage, breakage,
   17                      or ioss of equiprnent, unless it can be shown that thc shortage,
   18                      breakage, or loss is caused by a dislionest or willfiul act, or by the
   19                      gross negligence of the employee.
   20           32)    Defendant made improper deductions from Plaintiffs and the other Class Members'
   21 wages, including, but not limited to, when clients d'zd not pay certain fees, including, but not
   22 limited to, credit report fees and fees for appraisals. Thus; at all material times set forth herein,
   23 Plaintiffs and the other Class Members were forced to contribute to the capital and expenses of
   24 Defendant's businesses, which constitutes putting up a cash bond and must be refunded by
   25 Defendant to 1'laintiffs and the other Class Members.
   26           33)    Plaintiffs and thc other Class Members are entitled to reeover from Defendant the
   27 wages improperly deducted by nefendant's actions.                  -
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            {                                        CLASs ACTION COMPLAINT
                                                                                                                   17
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    1                                         SECOND CAUSE OF ACTXON

    21                              Violation of California l,abor Cocie §§ 510 and 1198
    3           34)     Plaintiffs incorporate by reference and re-alleges as if fully stated herein the material
    4 allegations set out in paragraphs 1 through 33.
    5           35)     At all tirnes herein set forth, Califoimia Labor Code § 1198 provides that it is unlawful
    6 to eniploy persons for longer than tht liours set by the Industrial Welfare Cotnmission (hereinafter

    7 "IWC").

    8           36)     At all times herein set forth, the IWC Wage Order applicable to Plaintiffs and the other
    9 Class Meinbers' employment by Defendant, has providcd that employ.ees working for more tl►an
   10 eight (8) hours in a day, or more than forty (40) hours in a workweek, are entitled to payment at
   11 the rate one and one-haif times his or her regular rate of pay for all hours worked in excess of eight
   12 (8) hours in a day or more than forty (40) hours in a work week. An employee who works more

             than twelve (12) hours in a day is entitled to overtime compensation at a rate of twice his or her
             regulai rate of pay.
                37)     California Labor Code § 510 codifies the right to overtime eompensation at one and
             one-half times the regular hourly rate for hours worked in excess of eight (8) hours in a day or
   17 forty (40) hours in a week or for the first eight (8) hours worked on the seventh day of work, and
   18 to overtime compensation at twice the regular hourly rate for hours worked in excess of twelve

   19 (12) hours in a day or in excess of eight (8) hours in a day on the ser►enth day of work.
   20           38)     During the relevant tinae period, l'laintiffs and the other Class Members consistently
   21 worked in excess of eight (8) hours in a day or forty (40) hours in a week..
   22           39)     During the relevant time.: period, due to Defendant's improper deductions from
   23 Piaintiffs' and other Class Members' wages, overtirne compensation was paid at a lower rate than
   24 it ought to have been.
   25           40)     Defendant's failure to pay Plaintiffs and other Class Members the unpaid balance of
   26 premium overtime compensation, as required by California state law, violafies the provisions of
   27 California Labor Code §§ 510 and 1198, and is therefore unlawful.
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         i                                            CLASS ACTlON COMPI.ARIT                                       18
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    1       41)      Pursuant to California Labor Code § 1194, Piaintiffs and other Class Members are
    2             to recover their unpaid overtime compensation, as well as interest, costs, and attorney's
    3 Ifees.
    4                                       T1EIIRD CAUSE OF ACTION

     5                       Violation mf Caaifornia Labor Code §§ 226.7(a) and 512(a)
     6      42)      Plaintiff incorporates by reference and re-alleges as if fully stated herein the material
     7 allegations set out in paragraphs 1 through 41.
     8 i   43)     At all times herein set forth, California Labor Code § 218 authorizes employees to sue
       i
     9 directly for any wages or penalty.due to them uftder the California Labor Code.
   10       44)      At all times herein set forth, California Labor Code. § 226.7(a) provides that no
   11 employer shall require an employee to work during any meal period mandated by an applicable
   12 order of the 1V`J'C.
   13'      45)      ,A,t all times herein set forth, California Labor Code § 512(a) provides that an employer
   14 may not employ an employee for a work period of more than five hours per day without providing
   15 the eznployee with a meal period of not less than thirty minutes, except that if the total work period
   16 per day of the employee is not znore than six hours the meal period may be waived by mutual
   17 consent of both the employer and the employee.
   18       46)      California Labor Code § 512(a) further provides that an employer may not employ an

   19 ernployee for a work period of more than ten hours per day without providing the employee with a
   20 second meal period of not less than thirty minutes; except that if the total hours worked is no more
   21 than twelve the second meal period' may be waived by triutual consent of the employer and the
   22, employee only if the first meal period was not waived.
   23       47)      During the relevant time period, Plaintiffs and other Class Members who were

    24. scheduled to work for a period of time in excess of six hours were required to work for periods
    25 longer than £'ive hours without a meal period of not less than thirty minutes.
    26      48)      During the relcvant time period, Plaintiffs and other Class Memb,ers Who were

    27 scheduled to worlc in excess of ten hours but not longer than twelve hours, and who did not waive
    28
                                                             _g.
                                                    CLASs A.CTION COMPLAINT
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        ll their legally-mandated meal periods by mutual consent were required to work in excess of ten
       2' hours without receiving a second meal period of not less than thirty minutes.
        3        49)   During the relevant time period, Plaintiffs and other Class Members who were

        4 scheduled to work in excess of twelve hours were retluired to work in excess of teia hours without

        5 receiving a second mcal period of not less than thirty minutes.

        6        50)   During the relevant time period, the Defendant required Plaintiffs and other Class

        7 - Members to work during meal periods and failed to compensate Plaintiffs and the other Class

        8 Members for work performed during meal periods.

        9        51)   Defendant's conduct violates applieable orders of the IWC and California Labor Code

       10 i §§ 226.7(a) and 512(a).
       11        52)   Pursuant to California Labor Code § 226.7(b), Plaintiffs and the other Class Members

       12 are entitled to recover from Defendant one additional hour of pay at the employee's regular rate of
w. ,. 1.31 compensation for each work day that the meal period was not provided, for a four-year statutory
       14 period from the date of the commencement of this action.                                                         I
                                                                                                                           ~
       15                                       FOURT1Fi CAUSE Or ACTIOIY

       16                               Violation of Galifornia Labor Codo § 226.7(a)

       17.       53)      Plaintiffs incoiporate by reference and re-alleges as if fully stated herein the material

       18 allegations set out in paragraphs 1 through 52,
       19        54)      California Labor Code § 218 authorizes employees to 'sue directly for any wages or

       20 penaity due to them under the Califor7iia Labor Code.
       21;       55)      California Labor Code § 226.7(a) provides that no employer shall require an employee

       22' to work during any rest period mandated by an applicable order of the IWC.
       23'       56)      During the relevant time period, the Defendant required Plaintiffs and the other Class

       24 Members to work during rest periods and failed to compensate Plaintiffs and the other Class
       25 Members for work performed during rest periods.
       26        57)      Defendant's conduct violates applicable orders of the IWC, and California Labor Code

       27 I § 226.7(a).
       28

             I                                                     »9 COMPI.AINT
                                                        CI.ASs A.CTION                          ~                     20
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    1      58)     Pursuant to Calxfornia Labor Code § 226.7(b), Plaintiffs and the other Class Members
    2 are entitled to recover from Defendant one additional hour of pay at the employee's regular rate of

    3 compensation for each work day that a rest period was not provided, for a four-year statutory

    4 . period from, the date of the commencement of this action.

    5                                      I+'IFTgI CAUSIC OF AC'!'IC9N
    6                          Violation of California Labor Code §§ 201 and 202
    7      59)     Pla.intiffs incorporate by reference and re-alleges as i£ fully stated herein the material
    8 allegations set out in paragraphs 1 through 58.

    9      60)     A,t all times herein sefi forth, California Labor Code sections 201 and 202 provided that
   10 if an einployer diseharges an employee, the wages earned and unpaid at the tim.e of discharge are
   11 due aad payable immed'zately, and that if an employee voluntarily leaves his or her employment,
   12 his or her wages shall become due and payable not later than seventy-two (72) hours thereafter,
   131 unless the employee has given seventy-two (72) hours previous notice of his or her intention to
        quit, in which case the employee is entitled to his or her wages at the time of quitting.
           61)     During the relevant time period, Defendant willfully failed to pay Plaintiffs and the
   16 othe rClass Mem
                    ber sho
                          wear
                             no lon ergme lo
                                           p ed
                                              y b Defendant
                                                   y        their wag,.
                                                                    es earneda
                                                                             nd unp,
                                                                                  aid

   17 ~ either at the time of discharge, or within seventy-two (72) hours of their leaving Defendant's
   18 employ.
   19      62)     Defendant's failure to pay Plaintiffs and those class inembers who are no longer
   20 i employed by 17cfendant their wages earned and unpaid at the time of discharge, ,or within seventy-
   21 two (72) hours o#'their leaving Defendarit's employ, ls in vlolation of California Labor Code §§
   22 201 and 202.
   23      63)      California Labor Code § 203 provides that if an employer willfully fails to pay wages
   24 owed, in accordance with Sections 201 and 202, then the wages of the employee shall eontinue as
   25 a penalty from the due date, and at the same rate until paid or until an action is commenced; but
   26 the wages shall not continue for more than thirty (30) days.
   27      64)     Plaintif£s and othcr class members are entitled to recover from Defendant the statutory
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                                                  CLASs ACT(ON COMPLAINT                                        21
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           1 penalty for each day they were not paid, at their regular hourly rate ofpay, up to a thii•ty (30) day

           2 maximum, pursuant to California Labor Code section 203.
           3                                        S12TII CAi7SE UF ACTI®N
           4                  Violataon of California Business &}'rofessions Code § 17200, et seq.
           5      65) ' Plaintiffs incorporate by reference and re-alleges as if fully stated herein the material
           6 allegations set out in paragraphs 1 through 64.

           7      66)       Defendant's eonduct, as alleged herein, has been, and continues to be, unfair,
           8 unlawful, and harmful to Plaintiffs,. the other Class 1Vleznbers, and to the general-publie. Plaintif'fs

           9 seeks to enforce important rights affecting the public interest within the meaning of Code of Civil
          10 Procedure § 1021.5.

          11      67)       Defendant's activities as alleged herein are violations of California law, and constitute
          12 unlawful business acts and practices in violation ofi California Business & Professions Code §

          13 17200, et seq.
:.;       14      68)      Defendant's acts constitute violation of, inter alia, California Labor Code §§ 221,
      ~   15 226.7, 510, 512 and 1194. In addition, a violation of California Business & Professions Code §                  tg
          16 17200, et seq. may be predicated on the violation of any federal law.

          17      69)       Plaintiffs and the putatave Class Members have been petsonaliy aggrieved by
          18I Defendant's unlawful business acts and practices as alleged herein, including but not necessarily

          19 limited to by the loss ofmoney or property.

          201     70)       Pursuant to California Business & Professions Code § 17200, et seq., Plaintiffs and the
 .1       211 putative Class Members are entitled to xestitution of fhe wages withlteld artd retained by Defendant

          22' during a period that cornmences four ydars prior to the filing of this connplaint; a permanent

          23 injunction rcquiring Defendant to pay all outstanding wages due to Plaintiffs and Class Mennbers;

          24 an award of attorney's fees pursuant to California Code of Civil Procedure § 1021.5 and other

          25 applicable law; and an award of costs.

          26                                       RJCQOEST FfDR JUR'Y 'I`RIAL
          27I           Plaintiffs request a trial by jury.
          28.

                                                              CLASS ACTtON COMPLAtNT
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     1    i                                         Pl<tAYER FOR ][tELIEF

     2.              Plaintiffs, on behalf of themselves and on behalf of all others similarly situated, pray for

     3'       relief.and judgment against Defendant, jointly and severally, as follows:
    4,
     5                                                   Class Certiftcation

     6                        1. That this action be certified as a class action;

     7                        2. That 1'laintiffs be appointcd as the representative of the Class; and

     8                        3. That counsel for Plaintiffs be appoirtted as Class counsel.
     9                                            A.Lto, the First Causp of Ac io~n

    10                        1. For all actual, consequential, and incidental losses and damages, according to

    11               proof;

    12                        2. For costs of suit inctirred herein; and

    13                        3. For such other and further relief as the Court may deem appropriate.

    14i
   -15                                           As to the Second Cause of Action

    16                        1. For general unpaid wages at overtime wage rates and such general and special

    17               damages as may be appropriate;

    18                        2. For pre judgs.nent interest on any unpaid overtime compensation fxom the date

    19               such announts were due;
    20                         3. For reasonable attorney's fees and for costs of suit incuiTed herein pursuant to

    21               California Labor Codl~. § 1194(a); and

    22                         4. For such other and further relief as the Court may deem equitable and

    23                appropriate.
    24                                            As to the Third Cause of Action

    25                        1. For payments pursuant to California Labor Code § 226.7(b);

    26                        2. For costs of suit incurred herein; and

    27                        3. For such other and further relief as the Court may deem appropriate.

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    1                                       As to the Fourth !Qause of Action
    2                     1.For payments-pursuant to California Labor Code § 226.7(b);
    3                     2. For costs of suit incurred herein; and
     4                    3. For such other and itirther relief as the Court may deern appropriate.
     S                                       As to the Fifth Cause of Actxon
     6                    1. For all actual, consequential, and incidental losses arxd darnages, according to,
     7           proof;
     8                    2. For costs of suit-ineurred herein; and
     9                    3. For such other and further relief as the Coiart may deem appropriate.
    10                                       As to the Sixth Cause of Action.
    11                    1. For disgoxgement of any and all "unpaid-wages" and incidental losses,
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    12~          according to proof;
    13i                   2. For restitution of "unpaid wages" to Plaitrtiffs and all Class-Members and               ~

    14           prejudgment interest i'rorn the dayy such amounts were due and payable;
    15                    3. For the appointmcnt of a receiver to receive, manage and distribute any and all
    16           funds disgorged from Defendant and detqrmined to have been wrongfully acquired by

    17           Defendant as a result of violations of California Business & Professions Code § 17200 et
    18           seq.;
    19                    4. 'For reasonable attorney's fees that P3aintiffs and other Class Members are
    20           entitled to recover under California Code of Civil Procedure § 1021.5;
    21                    5. For eosts of suit ineurred herein; and
    22                    6. For such other and itirther relief as the Court may deem equitable and
    23           appropriate.
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                   Dated: September   a, 2015                  Respectfully;• Submitted,

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                                                               By:
         3                                                          SIIAWN C. WESTIL[CK,
                                                             KA      HITO 'UVESTRICK LLP
         4                                                   Attoi eys for PlaintiffslClass Members
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